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                      1      ALLEN MATKINS LECK GAMBLE
                              MALLORY & NATSIS LLP
                      2      DAVID R. ZARO (BAR NO. 124334)
                             TIM C. HSU (BAR NO. 279208)
                      3      865 South Figueroa Street, Suite 2800
                             Los Angeles, California 90017-2543
                      4      Phone: (213) 622-5555
                             Fax: (213) 620-8816
                      5      E-Mail: dzaro@allenmatkins.com
                                     thsu@allenmatkins.com
                      6
                             ALLEN MATKINS LECK GAMBLE
                      7       MALLORY & NATSIS LLP
                             EDWARD G. FATES (BAR NO. 227809)
                      8      One America Plaza
                             600 West Broadway, 27th Floor
                      9      San Diego, California 92101-0903
                             Phone: (619) 233-1155
                    10       Fax: (619) 233-1158
                             E-Mail: tfates@allenmatkins.com
                    11
                             Attorneys for Receiver
                    12       AARON J. KUDLA
                    13                         UNITED STATES DISTRICT COURT
                    14                        CENTRAL DISTRICT OF CALIFORNIA
                    15
                    16 SECURITIES AND EXCHANGE                       Case No. CV-14-07249-CJC-FFM
                       COMMISSION,
                    17                                               NOTICE OF MOTION AND
                                Plaintiff,                           MOTION TO CONCLUDE
                    18                                               RECEIVERSHIP AND FOR
                           v.                                        ORDER:
                    19                                               (1) AUTHORIZING RECEIVER TO
                       NATIONWIDE AUTOMATED                          MAKE FINAL DISTRIBUTIONS TO
                    20 SYSTEMS, INC.; JOEL GILLIS; and               APPROVED CLAIMANTS AND
                       EDWARD WISHNER,                               ESTABLISH RESERVE;
                    21                                               (2) APPROVING FINAL
                                Defendants,                          ACCOUNTING AND REPORT;
                    22                                               (3) APPROVING DISPOSITION OF
                       OASIS STUDIO RENTALS, LLC;                    BOOKS AND RECORDS; AND
                    23 OASIS STUDIO RENTALS #2, LLC; and             (4) CONDITIONALLY
                       OASIS STUDIO RENTALS #3, LLC                  DISCHARGING RECEIVER;
                    24                                               RECEIVER'S FINAL
                                Relief Defendants.                   ACCOUNTING AND REPORT
                    25
                                                                     Date:     January 25, 2021
                    26                                               Time:     1:30 p.m.
                                                                     Ctrm:     9B
                    27                                               Judge:    Hon. Cormac J. Carney
                    28
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                      1               TO THE HONORABLE CORMAC J. CARNEY, JUDGE OF THE UNITED
                      2 STATES DISTRICT COURT, AND ALL INTERESTED PARTIES:
                      3               PLEASE TAKE NOTICE that on January 25, 2021, at 1:30 p.m. in
                      4 Courtroom 9B of the above-entitled Court, located at 411 West Fourth Street, Santa
                      5 Ana, California 92701-4516, Aaron J. Kudla ("Receiver"), the Court-appointed
                      6 permanent receiver for Defendant Nationwide Automated Systems, Inc. ("NASI"),
                      7 Relief Defendants Oasis Studio Rentals, LLC, Oasis Studio Rentals #2, LLC, and
                      8 Oasis Studio Rentals #3, LLC, and their subsidiaries and affiliates ("Receivership
                      9 Entities"), will and hereby does move the Court to conclude the receivership and for
                    10 an order: (1) authorizing Receiver to make final distributions to approved claimants
                    11 and establish a reserve; (2) approving the final accounting and report; (3) approving
                    12 disposition of books and records; and (4) conditionally discharging the Receiver
                    13 ("Motion"). The Receiver, his counsel, Allen Matkins, and certified public
                    14 accountants, Duffy Kruspodin & Company, have filed their final fee applications
                    15 concurrently herewith. The Motion and all relevant pleadings are available at the
                    16 Receiver's website, www.nasi-receivership.com.
                    17                Procedural Requirements: If you oppose this Motion, you are required to
                    18 file your written opposition with the Office of the Clerk, United States District
                    19 Court, 411 West 4th Street, Santa Ana, California 92701-4516, and serve the same
                    20 on the undersigned not later than 21 calendar days prior to the hearing. IF YOU
                    21 FAIL TO FILE AND SERVE A WRITTEN OPPOSITION by the above date, the
                    22 Court may grant the requested relief without further notice. This Motion is made
                    23 following the conference of counsel pursuant to L.R. 7-3.
                    24 Dated: December 17, 2020                        ALLEN MATKINS LECK GAMBLE
                                                                        MALLORY & NATSIS LLP
                    25
                                                                       By:        /s/ Edward G. Fates
                    26                                                       EDWARD G. FATES
                    27                                                       Attorneys for Receiver AARON J.
                                                                             KUDLA
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                      1                     MEMORANDUM OF POINTS AND AUTHORITIES
                      2                                      I.    INTRODUCTION
                      3               Aaron J. Kudla, the Court-appointed Receiver herein, respectfully submits
                      4 this Memorandum of Points and Authorities in Support of his motion to conclude
                      5 the receivership and: (1) authorizing the Receiver to make final distributions to
                      6 approved claimants and establish reserve; (2) approving the final accounting and
                      7 report; (3) approving disposition of books and records; and (4) conditionally
                      8 discharging the Receiver ("Motion"). The Receiver, his counsel and certified public
                      9 accountants have filed their final fee applications concurrently herewith.
                    10                The former receiver, and since his appointment, the Receiver, has completed
                    11 management of all assets of the receivership estate. The most significant assets of
                    12 the estate, claims to recover profits and other amounts paid out of the Ponzi scheme
                    13 ("Clawback Claims"), have been pursued to the point where the costs of further
                    14 pursuit/collection activity would very likely exceed any further recoveries (with the
                    15 exception of the sale of a few remaining judgments pursuant to the Court's order
                    16 authorizing the Receiver to sell such judgments). Therefore, as there is no further
                    17 material net benefit to be gained from maintaining the receivership, the Receiver
                    18 requests that he be discharged and the case be closed, effective upon completion of
                    19 the final closing tasks as described in Section III below.
                    20                In terms of recoveries for the benefit of investors with allowed claims, a total
                    21 of $64,324,408 was recovered ("Total Recovery"), comprised of (a) $41,810,506
                    22 recovered by the former receiver and Receiver from monetizing the Receivership
                    23 Entities' assets, including Clawback Claims, and (b) $22,406,490 distributed to the
                    24 allowed net losing investors by the Claims Administrator (former receiver) from the
                    25 City National Bank settlement (after payment of Court-approved legal fees and
                    26 costs), as a result of the combined efforts of the former receiver, Receiver and
                    27 investor class plaintiffs.
                    28
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                      1               In addition to the $22,406,490 distributed for the CNB settlement, the former
                      2 receiver distributed $31,342,705 pursuant to the distribution plan approved by the
                      3 Court on April 25, 2019 (the "Distribution Plan") (Dkt. No. 347), and the Receiver
                      4 proposes a final distribution of $2,935,267, resulting in total distributions to
                      5 investors with allowed claims of $56,684,462, which translates to a total return of
                      6 45% of investor losses from the Ponzi scheme. A financial summary showing the
                      7 receipts and disbursements from the receivership estate, including clawback
                      8 recoveries, operating review, and administrative expenses and other financial
                      9 information is attached hereto as Exhibit A. The relief sought herein will allow the
                    10 Receiver to take the remaining steps necessary to conclude the receivership,
                    11 including making final distributions to approved claimants.
                    12                     II.     RECEIVER'S FINAL ACCOUNTING AND REPORT
                    13                A.         Procedural History
                    14                This equity receivership involves a large and complex Ponzi scheme that is
                    15 the subject of the Complaint filed by the Securities and Exchange Commission
                    16 ("Commission"). The former receiver, William Hoffman of Trigild, Inc., was
                    17 appointed on a temporary basis on September 30, 2014, and on a permanent basis on
                    18 October 29, 2014. Due to Mr. Hoffman's retirement, he was fully discharged as
                    19 receiver on February 24, 2020, and Mr. Kudla (also of Trigild, Inc.) was appointed
                    20 successor receiver. Dkt. 383.
                    21                At the inception of the receivership, the Receivership Entities had very little
                    22 in terms of assets. Company bank accounts held $484,002 and there was a relatively
                    23 small portfolio of automated teller machines ("ATMs") that produced a modest
                    24 stream of revenue. It soon became clear that the only way to generate a meaningful
                    25 recovery for defrauded investors would be through the recovery of Ponzi scheme
                    26 profits and other transfers made to third parties. It was also clear that the Receiver's
                    27 forensic accounting would be critical and would provide the foundation for the
                    28 pursuit of Clawback Claims.
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                      1               B.    Receiver's Forensic Accounting
                      2               The Preliminary Injunction Order required the former receiver (and since his
                      3 appointment, the Receiver) to "make an accounting, as soon as practicable, to the
                      4 Court and the SEC of the assets and financial condition of Defendant Nationwide
                      5 Automated Systems, Inc." Dkt. No. 42, Part XII.E. Accordingly, the former
                      6 receiver tasked Mr. Kudla, who is a certified public accountant, and supporting
                      7 accounting staff to perform such an accounting (collectively, "Receiver's
                      8 Accounting Personnel"). The Receiver's Accounting Personnel gathered and
                      9 reviewed available financial, accounting and banking records to reconstruct
                    10 transactions of NASI, the Oasis Entities and other affiliated entities and reported the
                    11 findings to the former receiver.
                    12                Reconstruction of financial and accounting documents was a central task
                    13 (a) to determine who received funds from the Receivership Entities and how much
                    14 they received, (b) to prepare necessary tax filings, (c) to determine the proper
                    15 amount of profits of investors, and (d) determine the proper amounts of losses of
                    16 investors. The Receiver's Accounting Personnel worked diligently to create an
                    17 accurate check register showing the checks paid by NASI to investors that cleared,
                    18 not bounced, which was a critical and time-consuming task.
                    19                Due to the large size and length of time the Ponzi scheme operated, an
                    20 enormous amount of information was required to be traced and verified. Reliable
                    21 information about NASI's check register and similar information was either not
                    22 available or not accurate, which required the Receiver's Accounting Personnel to
                    23 reconstruct the ledger of transactions. Information from bank statements and
                    24 cleared checks were used to create a schedule of checks paid by NASI to investors.
                    25 On average, over 2,000 checks were paid by NASI to investors on a monthly basis
                    26 in 2014.
                    27
                    28
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                      1               C.    Clawback Claims
                      2               In April 2015, the former receiver obtained authority from the Court to pursue
                      3 claims to recover investor profits, referral fees, and other transfers to third parties, as
                      4 well as approval of proposed procedures for these Clawback Claims. Since that
                      5 time, the former receiver (and since his appointment, the Receiver) has resolved
                      6 claims in favor of the receivership estate against 434 profiting investors and other
                      7 third parties (373 settlements without a complaint filed, 43 settled after a filed
                      8 complaint, 15 judgments and 3 bankruptcies) for a total recovery to the receivership
                      9 estate of $40,457,744.
                    10                The rate of settlements in relation to total demand letters sent out is very
                    11 high – 67.6% (373 settlements without a complaint being filed and 43 settlements
                    12 after a complaint was filed). Of course, not all profiting investors accepted the
                    13 Court-approved settlement proposal included in the demand letter and therefore
                    14 complaints had to be filed. A total of 68 complaints were filed, all of which resulted
                    15 in settlements or judgments in favor of the former receiver, with the exception of
                    16 three cases that were stayed due to bankruptcies filed by the defendants.
                    17                Overall, the rate of cases filed (68) in relation to total demand letters is
                    18 remarkably low – only 10.9%. Accordingly, the pursuit of Clawback Claims, both
                    19 by the former receiver and the Receiver, has not only been very successful, but also
                    20 extremely efficient.
                    21                D.    Recoveries From Other Assets
                    22                      1.     Automated Teller Machines ("ATMs")
                    23                Although the automated teller machines ("ATMs") NASI sold to investors
                    24 were entirely fictitious, NASI did have a relatively small number of real ATMs
                    25 (approximately 240) that were operating in various hotels and casinos ("ATM
                    26 Business") at the time of the former receiver's appointment. The former receiver's
                    27 staff operated the relatively small ATM Business from appointment until the ATM
                    28 portfolio was sold on April 30, 2019. During most of the period the former
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                      1 receiver's staff operating the ATM Business, a positive monthly cash flow was
                      2 produced, however, the income stream declined as time elapsed to the point where
                      3 in some months the ATM Business generated a very small amount of net income
                      4 and in other months, the ATM Business lost money. During the time the former
                      5 receiver operated the ATM Business, the net income from the business totaled
                      6 $662,732 ($6,570,421 in revenue and $5,907,689 in expenses). See Exhibit A, p. 4.
                      7 To preserve receivership funds from monthly losses and to maximize recovery of
                      8 receivership assets, the former receiver sought the Court's permission to market and
                      9 sell the remaining ATMs to third-party buyers. The Court approved the sale of all
                    10 remaining ATMs for $50,000 on April 16, 2019 (Dkt. No. 341) and escrow closed
                    11 on April 30, 2019. The total recovery from the ATM Business operations and sale
                    12 of the ATM portfolio was $712,732.
                    13                      2.    Oasis Studio Rentals and Studios Maui Production
                    14                Oasis Studio Rentals, LLC, Oasis Studio Rentals 2, LLC, and Oasis Studio
                    15 Rentals 3, LLC, ("Oasis Entities") ran a business whereby they leased mobile
                    16 dressing rooms (trailers) and trucks to transport the trailers to film and television
                    17 studios to be used by actors and others on set during production. The Oasis Entities
                    18 appear to have been funded almost entirely by NASI. On November 18, 2014, the
                    19 Court entered its Order Approving the Receiver's First Report and
                    20 Recommendations, which confirmed that the Oasis Entities are affiliates of NASI,
                    21 and therefore within the scope of the receivership. Accordingly, the Receiver
                    22 immediately took steps to identify, locate, and secure the assets of the Oasis Entities.
                    23 Significant investigations were conducted with the goals of: (1) identifying all
                    24 vehicles purchased with NASI or Oasis funds, (2) tracing the purchase and sale of
                    25 each vehicle to and from the Oasis Entities, (3) identifying income generated from
                    26 vehicles owned or leased by the Oasis Entities and the recipients of these funds, (4)
                    27 obtaining possession of the vehicles owned by Oasis Entities, (5) pursing potential
                    28 claims against third parties who improperly benefited from the leasing and/or sale of
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                      1 vehicles owned by Oasis Entities, and (6) selling vehicles owned by the Oasis
                      2 Entities to maximize the recovery for the receivership estate.
                      3               Prior to the receivership, the day-to-day operations of Oasis vehicles,
                      4 including the arrangements to lease trailers to the studios, were managed in the Los
                      5 Angeles area by Robert Keller, Jr. ("Keller") with assistance from Defendant Ed
                      6 Wishner's staff. Through subpoenas issued to parties associated with Keller,
                      7 including the current entity Keller leases vehicles with studios, Fiji Rentals, and
                      8 forensic accounting of the Oasis Entities' bank accounts, the former receiver
                      9 determined that Keller received funds from the Oasis Entities (which received funds
                    10 from NASI) in excess of funds Keller put into the Oasis Entities. Accordingly, the
                    11 former receiver made a demand for Clawback funds against Keller, which was not
                    12 settled within the Court-ordered timeframe, and the former receiver, through his
                    13 counsel, filed a lawsuit against Keller. Eventually, a settlement was reached, as part
                    14 of which Keller paid $150,000 to the Receivership estate.
                    15                In addition to Oasis vehicles that were managed in California by Keller, at
                    16 least two functional trailers were shipped to Hawaii and were being leased under the
                    17 name Studios Maui Productions ("Studios Maui"). The Receiver traced and
                    18 confirmed the purchase of a business owning up to four vehicles, Akamai RV, from
                    19 accounts owned by Oasis and NASI that were leased by Studios Maui. During a
                    20 discussion between the Receiver's staff and counsel and Wishner, Wishner
                    21 confirmed (a) the purchase of Akamai RV, (b) the shipment of two additional
                    22 trailers owned by Oasis Entities from California to Hawaii and leased by Studios
                    23 Maui, and (c) two additional trailers may have been purchased by Studios Maui.
                    24 The day-to-day operations of Studios Maui were handled by Branscombe Richmond
                    25 ("Richmond"), who resides in Hawaii.
                    26                After numerous attempts to contact Richmond and obtain information, the
                    27 Receiver filed a motion to confirm the status of Studios Maui as an affiliate of NASI
                    28 and the Oasis Entities, and therefore a receivership entity. Dkt. No. 93. The motion
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                      1 also asked for an order directing Richmond to turn over the assets, accounts, and
                      2 records of Studios Maui to the Receiver. After the motion was filed, Richmond
                      3 engaged counsel, who contacted the Receiver's counsel. Through counsel, the
                      4 Receiver was able to arrange for Richmond to produce documents and information,
                      5 as well as for an appraiser to inspect the trailers located in Hawaii. The motion was
                      6 then granted on September 15, 2015. Dkt. No. 97. The market for rental trailers in
                      7 Hawaii was very limited and the best option to obtain a recovery close to the
                      8 appraised value would require shipping the vehicles to California. However, the
                      9 cost associated with shipping the trailers to California, storing them until sold, and
                    10 uncertainty in finding a buyer decreased the expected net recovery from a sale. In
                    11 order to avoid incurring additional expenses and maximize the recovery, the former
                    12 receiver sold the vehicles to Richmond for $9,250.
                    13                      3.    Sale of Outstanding Judgments
                    14                At the conclusion of the pursuit of Clawback Claims, there were a total of
                    15 11 outstanding Clawback Judgments against investors who received profits or other
                    16 amounts above and beyond the amounts they invested with NASI ("Clawback
                    17 Judgments"). The total face amount of the Clawback Judgments was approximately
                    18 $2.4 million. The collectability of the Clawback Judgments was unknown and,
                    19 while a recovery may have been possible on at least some of the Clawback
                    20 Judgments, the enforcements costs and delay involved could be considerable. The
                    21 Receiver believed that delaying the final distribution of receivership estate assets
                    22 and the conclusion of the receivership in order to enforce the Clawback Judgments
                    23 was not warranted considering the costs and uncertain net recovery. Accordingly,
                    24 the Receiver submitted and the Court approved a marketing and sale procedure for
                    25 the Clawback Judgments. Dkt. No. 407. The Receiver followed the procedures
                    26 approved by the Court, including contacting a number of collection attorneys and
                    27 other investors located in Southern California who purchase and enforce money
                    28 judgments on a regular basis and listing the judgments on a national online
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                      1 judgment website. The Receiver then accepted the highest offer in the amount of
                      2 $60,000, entered into a purchase agreement for the sale of the judgments, assigned
                      3 all judgments to the buyer and was paid in full.
                      4               E.    Claims and Interim Distribution Process
                      5               In February 2018, the former receiver obtained approval of procedures for the
                      6 administration of claims against the receivership estate. Dkt. 256. In the following
                      7 months, claims notices were sent out to investors and other claimants, including
                      8 researching and locating addresses for investors and other claimants for whom
                      9 NASI's records did not provide a current address.
                    10                Of the approximately 1,579 claim notices that were mailed out to NASI
                    11 investors, 141 investors sent in a response disputing their claims. The former
                    12 receiver reviewed the responses, including whatever documentation was provided,
                    13 and attempted to resolve the disputes with the applicable investors. The process was
                    14 very successful; at the conclusion, only one claim dispute remained unresolved. The
                    15 former receiver's recommendations as to allowed claims were accepted and adopted
                    16 by the Court in April 2019. Dkt. 347. As part of that order, the Court approved the
                    17 Distribution Plan and authorized the Receiver to make an initial round of
                    18 distributions to holders of allowed claims.
                    19                The former receiver proceeded to make the authorized distributions, including
                    20 issuing and tracking distribution checks, issuing wires to claimants located outside
                    21 of the country, and reissuing checks to claimants who had changed their address or
                    22 were unable to cash their checks for other reasons. At the conclusion of this
                    23 process, the total amount distributed was $31,342,705 and only one check for
                    24 $315.07 remained uncashed.
                    25                F.    City National Bank Settlement
                    26                On May 4, 2016, the former receiver obtained permission from the Court file
                    27 a lawsuit against City National Bank ("CNB") and to engage special counsel to do
                    28 so. The Receiver's action against CNB was filed in Los Angeles Superior Court and
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                      1 was one of several cases filed against CNB relating to the NASI Ponzi scheme, with
                      2 the other cases being brought on behalf of investors. The Receiver also filed
                      3 Clawback actions against Mark Soffa, a former NASI employee, and Brian
                      4 Fitzwilliams, a former CNB employee. The Receiver's cases against Mr. Soffa and
                      5 Mr. Fitzwilliams were deemed to be related to the pending Los Angeles Superior
                      6 Court cases against CNB, which were coordinated before Judge William
                      7 Highberger.
                      8               In July 2018, the former receiver and the investors reached a global settlement
                      9 with CNB, Mr. Soffa, and Mr. Fitzwilliams. Pursuant to the settlement agreement,
                    10 the receivership estate received $550,000 on account of its claims against Mr. Soffa,
                    11 and the investor class (for which the former receiver served as claims administrator)
                    12 received $33 million in settlement of the investors' and receivership estate's claims
                    13 against CNB and Mr. Fitzwilliams. The Settlement Agreement, including the
                    14 contingent fee to be paid to counsel for the investors and special counsel for the
                    15 Receiver, was approved by this Court and the Los Angeles Superior Court.
                    16 Dkt. 299. The net amount paid out to the investor class (after payment of attorney
                    17 fees and costs) was $22,406,490 with the remaining $107,413 of funds transferred to
                    18 the receivership estate to be combined in the Receiver's final distribution. The
                    19 investors' claim amounts, which determined their pro rata share of the class
                    20 settlement funds, were the claim amounts set by this Court as part of the
                    21 receivership claims process discussed above.
                    22                G.    Standardized Fund Accounting Report
                    23                The Receiver's 24th Interim Report, filed on September 15, 2020, covers the
                    24 time period from April 1, 2020 through June 30, 2020. Dkt. 416. Attached hereto
                    25 as Exhibit C is a Standardized Fund Accounting Report for the receivership estate
                    26 for the time period July 1, 2020 through October 31, 2020. As discussed below, a
                    27 final accounting regarding distributions to investors with allowed claims, the use of
                    28 reserve funds, and the turnover of any remaining monies to the United States
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                      1 Treasury will be provided with the Receiver's final declaration after all remaining
                      2 receivership tasks have been completed.
                      3                                   III.   CLOSING MATTERS
                      4               A.    Establishment of Reserve, Payment of Administrative Expenses
                      5                     and Proposed Final Distribution
                      6                     1.     Establishment of Reserve
                      7               The Receiver requests a reserve of funds in the amount of $1,685,700 to pay
                      8 the former receiver and Receiver, their counsel, Allen Matkins, and certified public
                      9 accountants, Duffy Kruspodin, as detailed in their final fee applications filed
                    10 concurrently with this Motion, including (a) $1,358,258 in fees held back from
                    11 interim fee applications (20% hold back), (b) $132.443 in fees and costs already
                    12 incurred during the period from April 1, 2020 through October 31, 2020, and (c) up
                    13 to $195,000 in fees and costs for remaining work to conclude the Receivership.
                    14 Pursuant to the Court-approved Distribution Plan and by agreement with the
                    15 Securities and Exchange Commission ("Commission"), the Receiver will pay any
                    16 unused reserve funds to the United States Treasury at the conclusion of the
                    17 receivership.
                    18                      2.     Administrative Expenses
                    19                If all final fee applications submitted herewith are approved and the fees and
                    20 costs projected for remaining work to conclude of the receivership are actually
                    21 incurred, the total administrative expenses for the receivership will be $7,663,126,
                    22 or 11.9% of the Total Recovery. The administrative expenses include (a) the
                    23 combined fees and costs of the former receiver and Receiver, if all fee applications
                    24 are approved, of $4,764,166, or about 7.4% of the Total Recovery, (b) fees and costs
                    25 for the Receiver's counsel, Allen Matkins, if all fee applications are approved, of
                    26 $2,636,646, or about 4.1% of the Total Recovery, (c) fees and costs for the
                    27 Receiver's certified public accountants, Duffy Kruspodin, if all fee applications are
                    28 approved, of $122,551, or about .2% of the Total Recovery, (d) fees and costs for
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   Mallory & Natsis LLP

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                      1 other professionals hired by the former receiver or Receiver of $79,443, or about
                      2 .1% of Total Recovery, and (e) fees and costs paid to third-parties (other than
                      3 professionals and include a distribution to non-investor priority claim and payments
                      4 of federal and state taxes), amount to approximately $60,320, or .1% of the Total
                      5 Recovery.
                      6                     3.    Proposed Final Distribution.
                      7               The Receiver proposes a final distribution of $2,935,267 million to the
                      8 allowed net losing investors, which results in a total distribution to investors with
                      9 allowed claims of $56,684,462 or approximately 45.0% of the combined net losses
                    10 of all allowed net losing investors ($31,342,705 from the Receiver's interim
                    11 distribution, $22,406,490 from the CNB settlement distribution, and $2,935,267
                    12 million from the Receiver's proposed final distribution). A breakdown of the
                    13 remaining funds and final distribution amount is provided at page 15 of Exhibit A.
                    14                      4.    Cancellation of Outstanding/Stale Checks
                    15                There are a total of 47 uncashed and outstanding checks issued from
                    16 receivership accounts. The checks, most of which are in amounts under $250, total
                    17 $14,375.80. The checks were issued to the hotels and other locations where the
                    18 ATMs owned by NASI were operated and represent the fees or monthly rent under
                    19 the contracts with such locations. These checks have been outstanding for over a
                    20 year and a half, and some of them go as far back as 2016. At this point, the
                    21 Receiver believes the checks will most likely never be cashed. Accordingly, the
                    22 Receiver requests authority to stop payment and cancel the outstanding checks
                    23 (meaning any claims asserted by the payees for those amounts would also be
                    24 disallowed) such that all receivership accounts can be fully reconciled, the balance
                    25 of funds transferred to the United States Treasury, as discussed above, and then
                    26 closed. A schedule reflecting the outstanding checks is attached hereto as
                    27 Exhibit D.
                    28
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                      1               B.    Destruction of Records
                      2               The Receiver presently stores files and records for the Receivership Entities'
                      3 operations, personnel files, investor files, and miscellaneous documents, and
                      4 electronic records. The Receiver has met and conferred with counsel for the
                      5 Commission, which does not wish to take possession of the records or object to
                      6 them being destroyed. Continuing to store the records does not benefit the claimants
                      7 and involves monthly expense. Accordingly, rather than reducing the funds
                      8 available for distribution by amounts necessary to cover continuing storage costs,
                      9 the Receiver seeks permission to destroy the records upon entry of the Discharge
                    10 Order discussed below.
                    11                C.    Discharge of Receiver
                    12                The former receiver and Receiver have successfully completed all work
                    13 required under the Appointment Orders. The Receivership Entities' assets were
                    14 marshalled, protected, and successfully monetized, the accounting was completed,
                    15 and the claims of investors and others were adjudicated. As such, it is appropriate
                    16 for the Receiver to ask the Court to enter an order discharging her upon the
                    17 following conditions:
                    18                1.    The Receiver shall cause the final distribution to approved claimants to
                    19 be completed in accordance with the Claims Order (Dkt. 347) and Distribution Plan
                    20 (Dkt. 337-1, Exhibit F);
                    21                2.    The Receiver shall complete the tasks outlined in this Motion,
                    22 including the conducting a final distribution to investors with allowed claims,
                    23 dissolving Receivership Entities, preparation of tax returns and other tax filings, and
                    24 the payment of actual fees and expenses of the Receiver and his professionals;
                    25                3.    In accordance with the Distribution Plan, following 120 days after the
                    26 final distribution to claimants, the Receiver shall turn over to the United States
                    27 Treasury any balance of funds; and
                    28
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                      1               4.    Within 180 days after the final distribution to approved claimants has
                      2 been made, the Receiver shall file a declaration with the Court providing a final
                      3 accounting regarding use of the Reserve funds, along with an order discharging the
                      4 Receiver ("Discharge Order"), in the form attached hereto as Exhibit B, which
                      5 Discharge Order may be entered by the Court without further notice or a hearing.
                      6                                        IV.   ARGUMENT
                      7               A.    Broad Equitable Powers of the Court
                      8               "The power of a district court to impose a receivership or grant other forms of
                      9 ancillary relief does not in the first instance depend on a statutory grant of power
                    10 from the securities laws. Rather, the authority derives from the inherent power of a
                    11 court of equity to fashion effective relief." SEC v. Wencke, 622 F.2d 1363, 1369
                    12 (9th Cir. 1980). The "primary purpose of equity receiverships is to promote orderly
                    13 and efficient administration of the estate by the district court for the benefit of
                    14 creditors." SEC v. Hardy, 803 F.2d 1034, 1038 (9th Cir. 1986). As the appointment
                    15 of a receiver is authorized by the broad equitable powers of the Court, any
                    16 distribution of assets must also be done equitably and fairly. See SEC v. Elliot,
                    17 953 F.2d 1560, 1569 (11th Cir. 1992).
                    18                District courts have the broad power of a court of equity to determine the
                    19 appropriate action in the administration and supervision of an equity receivership.
                    20 See SEC v. Capital Consultants, LLC, 397 F.3d 733, 738 (9th Cir. 2005). As the
                    21 Ninth Circuit explained:
                    22                      A district court's power to supervise an equity receivership
                                            and to determine the appropriate action to be taken in the
                    23                      administration of the receivership is extremely broad. The
                                            district court has broad powers and wide discretion to
                    24                      determine the appropriate relief in an equity receivership.
                                            The basis for this broad deference to the district court's
                    25                      supervisory role in equity receiverships arises out of the
                                            fact that most receiverships involve multiple parties and
                    26                      complex transactions. A district court's decision
                                            concerning the supervision of an equitable receivership is
                    27                      reviewed for abuse of discretion.
                    28
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                      1 Id. (citations omitted); see also Commodities Futures Trading Comm'n. v. Topworth
                      2 Int'l, Ltd., 205 F.3d 1107, 1115 (9th Cir. 1999) ("This court affords 'broad deference'
                      3 to the court's supervisory role, and 'we generally uphold reasonable procedures
                      4 instituted by the district court that serve the[e] purpose' of orderly and efficient
                      5 administration of the receivership for the benefit of creditors."). Accordingly, the
                      6 Court has broad equitable powers and discretion in the administration of the
                      7 receivership estate and disposition of receivership assets.
                      8               B.    Conclusion of Receivership and Discharge of Receiver
                      9               Federal District Courts presiding over federal equity receiverships have broad
                    10 power and wide discretion in the supervision of the same. SEC v. Hardy, 803 F.2d
                    11 1034, 1037-38 (9th Cir. 1986). Their power and discretion includes the authority to
                    12 "make rules which are practicable as well as equitable." Id. at 1039 (quoting First
                    13 Empire Bank-New York v. FDIC, 572 F.2d 1361, 1368 (9th Cir. 1978)). In this case,
                    14 the Court's supervision of the receivership is guided by these same rules.
                    15                The former receiver and Receiver have diligently carried out their Court-
                    16 ordered duties, including assuming control of the enterprise, marshalling and selling
                    17 assets, performing a forensic accounting, pursuing claims, providing detailed reports
                    18 to the Court, conducting a claims and distribution process, and if this Motion and the
                    19 fee applications filed herewith are granted, distributing nearly $2.9 million for a
                    20 grand total claimant recovery of approximately $56,649,195, which amounts to
                    21 about forty-five cents of each dollar of investor losses. As there is no further
                    22 material net benefit to be gained from maintaining this receivership, the Receiver
                    23 requests that he be discharged and the case be closed, effective upon completion of
                    24 the final closing tasks as described in Section III above.
                    25                Effective upon completion of the closing tasks, the Receiver requests the
                    26 Discharge Order (attached hereto as Exhibit B) be entered, which order discharges
                    27 the Receiver and fully releases him and his counsel of: (i) all duties under the
                    28 Appointment Order, and (ii) any and all claims and liabilities associated with the
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                   EXHIBIT A
                                                            Exhibit A, Page 20
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                                            Receiver Over NASI
                                   Recovery and Distributions to Investors
                                                 Summary
                                                                                 Amount                     Attachment
1   NET LOSSES                                                               $     125,962,207

2   RECOVERY

     a   Receivership Recovery                                               $      41,810,506      33.2%         A

     b   CNB Related Recovery (Net of Fees/Expenses)                         $      22,513,903      17.9%         A

         Total Recovery (Receivership and CNB Net)                           $      64,324,408      51.1%

3   ADMIN. FEES AND EXPENSES

     a   Professional Fees                                                   $       7,160,056      11.1%         B

     b   Professional Expenses                                               $        442,749        0.7%         B

     c   Admin. Fees/Expenses to Third Parties                               $         60,320        0.1%         B

         Total Admin. Fees and Expenses                                      $       7,663,126      11.9%

4   DISTRIBUTIONS TO INVESTORS

     a   Distribution to Investors: Receivership (Round 1)                   $     (31,342,705)     24.9%

     b   Distribution to Investors: Receivership (Round 2) (Est.)            $      (2,935,267)      2.3%         C

     c   Distribution to Investors: CNB                                      $     (22,406,490)     17.8%         D

         Total Distributions to Investors                                    $     (56,684,462)     45.0%


                                            Return of Investor Loss (Net):                45.0%

                                      Distribution to Investor/ Recovery:                 88.1%




                                                                                             Exhibit A, Page 21
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                                              Receiver Over NASI
                                     Recovery and Distributions to Investors
                                                   Summary
                                                                                      Amount                        Attachment
1   NET LOSSES                                                                    $     125,962,207

2   RECOVERY

     a   Receivership Recovery                                                    $      41,810,506      33.2%          A

     b   CNB Related Recovery (Net of Fees/Expenses)                              $      22,513,903      17.9%          A

         Total Recovery (Receivership and CNB Net)                                $      64,324,408      51.1%

3   ADMIN. FEES AND EXPENSES

     a   Professional Fees                                                        $       7,160,056      11.1%          B

     b   Professional Expenses                                                    $        442,749        0.7%          B

     c   Admin. Fees/Expenses to Third Parties                                    $           60,320      0.1%          B

     d   Emergency Reserve                                                            #REF!              #REF!          B

         Total Admin. Fees and Expenses                                               #REF!              #REF!

4   DISTRIBUTIONS TO INVESTORS

     a   Distribution to Investors: Receivership (Round 1)                        $     (31,342,705)     24.9%

     b   Distribution to Investors: Receivership (Round 2) (Est.)                 $      (2,900,000)      2.3%          C

         Net Funds to Distribute (Incl. Emerg. Reserve)             #REF!

     c   Distribution to Investors: CNB                                           $     (22,406,490)     17.8%          D

         Total Distributions to Investors                                         $     (56,649,195)     45.0%


                                                Return of Investor Loss (Net):                 45.0%

                                            Distribution to Investor/ Recovery:                88.1%




                                                                                               Exhibit A, Page 22
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                                                Receiver Over NASI
                                          Recovery (Receivership and CNB)
                                                   Attachment A

A Receivership Recovery                                                                          Amount        Attachment
   1 Business Activities                                                                     $      702,176
            a Net Income: ATM Operations                                   $     662,732                              A-1
                  i Revenue (ATM Operations)               $ 6,570,421
                 ii Expenses (ATM Operations)              $ (5,907,689)
            b Net Income: Oasis Studio Rentals                             $      (10,556)                            A-2
                  i Revenue (OSR)                          $     16,122
                 ii Expenses (OSR)                         $    (26,678)
           c   Other Recovery: Business Assets                             $      50,000
                  i Sale of ATMs (porfolio sale)           $     50,000
   2 Cash and Securities (Seized Bank Accounts)                                              $       484,002
   3 Interest Income                                                                         $       166,583
   4 Third-Party Litigation Income                                                           $    40,457,744
            i  Loan Repayment                                              $      187,000
            ii Settlements: Installment Payments                           $    7,536,049
           iii Settlements: Lump Sum Payments                              $   28,383,130
           iv Financial Hardship Applications                              $    3,582,315
            v City National Bank-Soffa Settlement                          $      550,000
           vi OSR: Robert Keller Jr. Settlement                            $      150,000
          vii Studio Maui: Branscombe                                      $        9,250
          viii Sale of Clawback Judgments                                  $       60,000
   5 Restitution                                                           $          -
       i       Received from Sale of Gillis Residence      $    396,752
       ii      Payment to US Distr. Court re Restitution   $   (396,752)
               Receivership Recovery                                                         $    41,810,506

B CNB Recovery (Net of Fees/Expenses)
   1 CNB Distribution to Investors:                                                          $    22,406,490
   2 CNB Transfer to Receivership:                                                           $       107,413
            Total CNB Recovery (Net)                                                         $    22,513,903

        Total Recovery (Receivership and CNB Net)                                            $    64,324,408




                                                                                             Exhibit A, Page 23
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                                  Receiver Over NASI
                               ATM Operations by Receiver
                                   Income Statement
                                    Attachment A-1



                              Description                            Sub-Amount         Amount
INCOME - ATMs
   ATM Income                                                                       $    6,570,421
   TOTAL INCOME                                                                     $    6,570,421

EXPENSES - ATMs

OPERATING EXPENSES - ATMs
   ATM Rent Fees (Locations)                                                        $    2,419,395
      Pre-Receiver Appointment                                   $         70,445
      Post-Receiver Appointment                                  $      2,348,950
   ATM Servicer Fees                                                                $    3,432,009
      Pre-Receiver Appointment                                   $          4,180
      Post-Receiver Appointment                                  $      3,427,829
   Bank Charges and Fees                                                            $       4,723
      Bank Charges - Misc. Charge                                $           182
      Bank Charges - CNB Doc. Retrieval                          $         4,541
   Communication Costs                                                              $       4,623
   Contract Services                                                                $       3,678
     Original Contract Services                                  $         1,986
     Pre-Receiver                                                $           868
     Reclass: Prof. Fee to Contract Services: Furniture Moving   $           824
   Ground Lease                                                                     $        5,309
   Insurance - ATMs                                                                 $       18,542
   Licenses & Permits                                                               $        1,981
   Office Supplies                                                                  $        4,999
   Payroll Taxes                                                                    $       12,290
   Repairs - Locks & Keys                                                           $          140
   TOTAL OPERATING EXPENSES                                                         $    5,907,689

NET OPERATING INCOME                                                                      662,732

    TOTAL EXPENSES                                                                  $    5,907,689

NET INCOME                                                                          $     662,732




                                                                                           Exhibit A, Page 24
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                         Receiver Over NASI
                Oasis Studio Rentals, LLC - Operations
                          Income Statement
                           Attachment A-2

                                                         Amount
   INCOME - HoneyWagon Rental
      Rental Income                                  $      16,122
      TOTAL INCOME                                   $      16,122

   OPERATING EXPENSES - HoneyWagons
      Bank Charges and Fees                          $         116
      Insurance - HoneyWagons                        $      11,471
      Refunds from Vendors                           $        (352)
      Licenses & Permits                             $          22
      TOTAL OPERATING EXPENSES                       $      11,257

   NET OPERATING INCOME                                      4,865

   NON-OPERATING EXPENSES
      Income Tax                                     $      15,421
      TOTAL NON-OPERATING EXPENSE                    $      15,421

      TOTAL EXPENSES                                 $      26,678

   NET INCOME                                        $      (10,556)




                                                                       Exhibit A, Page 25
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                                               Receiver Over NASI
                                      Recovery and Distributions to Investors
                                                  Attachment B
                                      Receivership Admin. Fees and Expenses

1 TOTAL RECOVERY (Receivership and CNB Net):                        $     64,324,408

2 PROFESSIONAL FEES AND EXPENSES (through completion):

                                                           Fees only                            Fees and Expenses

                                              Total Amount (Start       % of Total     Total Amount (Start   % of Total
                                                to Conclusion)          Recovery         to Conclusion)      Recovery

   a Receiver                                 $        4,589,769          7.1%         $        4,764,166      7.4%

   b Allen Matkins                            $        2,372,443          3.7%         $        2,636,646      4.1%

   c Duffy Kruspodin (CPA)                    $          121,451          0.2%         $          122,551      0.2%

   d Others                                   $           76,394          0.1%         $           79,443      0.1%

                  Total Prof. Fees            $        7,160,056          11.1%

                  Total Expenses              $          442,749          0.7%

           Total Prof. Fees and Expenses      $        7,602,806          11.8%        $        7,602,806      11.8%

3 ADMIN. EXPENSES (Third-Parties) (through 10/31/20):

                                                 Total Amount           % of Total
                                              (through 10/31/20)        Recovery

   a Claims Admin. Fee & Expense (third       $            2,047          0.0%
     party)

   b Distribution to Non-Investor (priority   $           12,079          0.0%
     claim)

   c Third-Party Litigation Expense           $            3,806          0.0%

   d Federal and State Taxes                  $           42,389          0.1%

      Total Admin. Expenses (Third-Parties)   $           60,320          0.1%

4 PROFESSIONAL FEES/EXPENSES AND              $        7,663,126          11.9%
         ADMIN. EXPENSES




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                                              Receiver Over NASI
                                    Recovery and Distributions to Investors
                                                 Attachment B-1
                                   Professional Fees and Expenses (Summary)


                                             Receiver     Allen Matkins     Duffy           Others         Total
                                                                          Kruspodin
                                                                           (CPA)

1 Final Application Period:
                (Attachment B-3)
      Fees                               $       91,255   $      22,136   $    13,982   $        -     $      127,374
      Expense Reimb.                     $        5,069   $         -     $       -     $        -     $        5,069
      Total Fees and Exp. Reimb.         $       96,324   $      22,136   $    13,982   $        -     $      132,443


2 All Previous Fee Applications:
                 (Attachment B-2)
       Fees Paid                         $    3,520,411   $   1,846,645   $    65,975   $     76,394   $     5,509,425
       Exp. Reimb. Paid                  $      142,328   $     261,203   $     1,100   $      3,049   $       407,680
       Total Fees and Exp. Reimb. Paid   $    3,662,739   $   2,107,848   $    67,075   $     79,443   $     5,917,105

3 Holdback of Funds (20%)                $     880,103    $     461,661   $    16,494                  $     1,358,258

4 Estimate to Conclude:                                                                                $           -
                (Attachment B-4)
      Fees                               $      98,000    $      42,000   $    25,000   $        -     $      165,000
      Expense Reimb.                     $      27,000    $       3,000   $       -     $        -     $       30,000
      Total Fees and Exp. Reimb.         $     125,000    $      45,000   $    25,000   $        -     $      195,000

5 Total Fees (Excludes Expenses)         $    4,589,769   $   2,372,443   $   121,451   $     76,394   $     7,160,056

6 Total Expenses                         $     174,397    $     264,203   $     1,100   $      3,049   $      442,749

7 Total Fees and Expenses                $    4,764,166   $   2,636,646   $   122,551   $     79,443   $     7,602,806




                                                                                        Exhibit A, Page 27   Updated 12/7/2020
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                                      Receiver Over NASI
                                    Net Funds to Distribute
                                         Attachment B-3
                                 Professional Fees and Expenses
                        Fees and Expenses Not Included in Prior Fee Apps

Professional Fees and Expenses:

                                                                                 Fees and
 1 Fees and Expenses Not In Prior Fee App          Fees          Expenses        Expenses      Attachment

     a   Receiver                              $    91,255   $       5,069   $      96,324        B-3-1/
                                                                                                  B-3-2
                    (04/01/20 to 10/31/20)


     b   Allen Matkins                         $    22,136   $         -     $      22,136
                  (04/01/20 to 08/31/20)

     c   Duffy, Kruspodin & Company LLP        $    13,982   $         -     $      13,982
         (CPAs)
                  (09/17/19 to 09/30/20)


               Total (Not in Prior Fee Apps)   $   127,374   $       5,069   $     132,443




                                                                                 Exhibit A, Page 28
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                                                    Receiver Over NASI
                                                   Net Funds to Distribute
                                                     Attachment B-3-1
                                                 Receiver Professional Fees
                                         April 1, 2020 to October 31, 2020 (Actual)

                                       Total for Q2 and Q3 2020                October                          Total
              Category                  Hours         Amount              Hours Amount            Hours        Amount
Case Administration:                        23.0   $      8,050.00           1.6 $       560.00     24.6   $      8,610.00
Third Party Recoveries:                     41.0   $     14,350.00          16.3 $     5,705.00     57.3   $   20,055.00
Accounting/ Auditing:                       54.6   $      9,642.50          72.6 $    13,210.00    127.2   $   22,852.50
Status Report:                              11.5   $      3,757.50                                  11.5   $      3,757.50
Tax Issues:                                 14.9   $      5,215.00          11.3 $     3,955.00     26.2   $      9,170.00
USAO Restitution Amounts                    39.7   $     13,895.00                                  39.7   $   13,895.00
Wind Down                                     -    $           -            36.9 $    12,915.00     36.9   $   12,915.00
                           Total:        184.6     $     54,910.00                $   36,345.00    184.6   $   91,255.00


                                       Q2                Q3

Case Administration:                $ 6,370.00     $      1,540.00
Third Party Recoveries:             $ 12,705.00    $      1,645.00
Accounting/ Auditing:               $ 4,425.00     $      5,217.50
Status Report:                      $ 1,505.00     $      2,252.50
Tax Issues:                         $ 2,170.00     $      3,045.00
USAO Restitution Amounts            $ 2,240.00     $     11,655.00
                                    $ 29,415.00    $     25,355.00                    54,770.00




                                                                                             Exhibit A, Page 29
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                                  Receiver Over NASI
                                Net Funds to Distribute
                                   Attachment B-3-2
                          Receiver Expense Reimbursements
                         April 1, 2020 to Oct. 31, 2020 (Actual)


                                     Category                                     Charge

     1   Bank Fees                                                            $    2,588.01
     2   Computer Equipment and Software:                                     $    1,593.50
     3   Miscellaneous Fees:                                                  $         -
     4   Photocopying:                                                        $      547.35
     5   Postage/ Overnight Expenses:                                         $      142.06
     6   Storage of Documents                                                 $      197.86
                  Total Expense Reimbursements for Q2 and Oct 2020            $    5,068.78




                                                                     Exhibit A, Page 30
                                                                                   Updated 12/7/2020
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                                   Receiver Over NASI
                                 Net Funds to Distribute
                                     Attachment B-3-2
                              Receiver Expenses (Detailed)
                          April 1, 2020 to Oct. 31, 2020 (Actual)

       Date                                Description                               Amount

Bank Fees
     04/30/20 Bank Fee - April                                                   $      369.25
     05/30/20 Bank Fee - May                                                     $      366.61
     06/30/20 Bank Fee - June                                                    $      382.94
     07/31/20 Bank Fee - July                                                    $      365.70
     08/31/20 Bank Fee - August                                                  $      365.69
     09/30/20 Bank Fee - Sept.                                                   $      370.80
     10/31/20 Bank Fee - Oct.                                                    $      367.02
   Total Bank Fees                                                               $    2,588.01

Computer Equipment and Software:
    10/31/20 MRI Software Fee ($150/month) (04/01/20 to 10/31/20)                $    1,050.00
    10/31/20 Website Hosting (Annual)                                            $      143.88
    10/31/20 Email License (@nasi-receivership.com) (Annual)                     $       71.88
    10/31/20 Leapfile Data Transfer ($20/month (04/01/20 to 10/31/20)            $      140.00
    10/31/20 Background Research License ($26.82/month) (04/01/20 to 10/31/20)   $      187.74
   Total Computer Equipment and Software                                         $    1,593.50

Photocopying:
     04/30/20 Copies - 654 BW @ .15 each = $98.10                                $      98.10
     05/31/20 Copies - 542 BW @ .15 each = $81.30                                $      81.30
     06/30/20 Copies - 704 BW @ .15 each = $105.60                               $     105.60
     07/31/20 Copies - 206 BW @ .15 each = $30.90                                $      30.90
     08/31/20 Copies - 235 BW @ .15 each = $35.25                                $      35.25
     09/30/20 Copies - 437 BW @ .15 each = $65.55                                $      65.55
     10/31/20 Copies - 871 BW @ .15 each = $130.65                               $     130.65
    Total Photocopying                                                           $     547.35

Postage/ Overnight Expenses:
     04/30/20 Postage - April                                                    $      11.00
     04/30/20 FedEx - April                                                      $      16.67
     05/31/20 Fedex - May                                                        $      66.08
     05/31/20 Postage - May                                                      $       0.73
     06/30/20 Postage - June                                                     $      22.75
     10/31/20 FedEx - Oct.                                                       $      24.83
    Total Postage/ FedEx                                                         $     142.06

Storage of Documents:
     04/30/20 Storage Fee - April                                                $      27.72
     05/31/20 Storage Fee - May                                                  $      28.64
     06/30/20 Storage Fee - June                                                 $      27.72
     07/31/20 Storage Fee - July                                                 $      27.72
     08/31/20 Storage Fee - August                                               $      28.64
     09/30/20 Storage Fee - Sept                                                 $      28.71
     10/31/20 Storage Fee - Oct                                                  $      28.71
    Total Storage                                                                $     197.86

                Total Expense Reimbursements                                     $    5,068.78




                                                                                                 Exhibit A, Page 31   Updated 12/7/2020
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                                           Receiver Over NASI
                                         Net Funds to Distribute
                                              Attachment B-4
                                      Professional Fees and Expenses
                                           Estimate to Conclude

Professional Fees and Expenses:

                                                                                            Fees and
 1 Estimate to Conclude                                       Fees          Expenses        Expenses     Attachment

     a    Receiver                                       $     98,000   $      27,000   $     125,000       B-4-1/
                                                                                                            B-4-2

     b    Allen Matkins                                  $     42,000   $       3,000   $      45,000

     c    Duffy, Kruspodin & Company LLP (CPAs)          $     25,000                   $      25,000


          Total Fees and Expense (Estimate to Completion) $   165,000   $      30,000   $     195,000




                                                                                            Exhibit A, Page 32
                                                                                                             Updated 12/7/2020
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                             Receiver Over NASI
                            Net Funds to Distribute
                               Attachment B-4-2
                         Receiver Expenses (Summary)
                          Nov. 1, 2020 to Completion

Receiver Expenses (Nov. 1, 2020 to Completion)

                                                             Amount
                              Description                  (Estimated)
     1   Bank Fees                                     $        14,457.00
     2   Computer Equipment and Software:              $         2,361.11
     3   Entity Dissolution                            $         1,564.00
     4   Photocopying:                                 $         1,500.00
     5   Postage/ Overnight Expenses:                  $         1,973.63
     6   Storage and Destruction:                      $         1,246.40
     7   Taxes                                         $         3,800.00
                     Total Receiver Expenses (Est.)    $        26,902.14




                                                                    Exhibit A, Page 33
                                                                                     Updated 12/7/2020
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                                        Receiver Over NASI
                                       Net Funds to Distribute
                                          Attachment B-4-2
                                     Receiver Expenses (Detailed)
                                      Nov. 1, 2020 to Completion


                                                                 Monthly/    # of Months/
                   Description                  1-Time Fees    Occurence Fee Occurrence         Total Fees

Bank Fees
   Bank Fee - Distribution Fees               $     6,000.00                                $       6,000.00
   Bank Fee - Cancelled/Reissued Check Fees                    $       30.00     150        $       4,500.00
   Bank Fee - Cleared Check Copies                             $        0.20     1500       $         300.00
   Bank Fee - Monthly                                          $      365.70      10        $       3,657.00
                              Total Bank Fees                                               $      14,457.00

Computer Equipment and Software:
   MRI Software Fee                                            $      150.00      10        $       1,500.00
   Leapfile 1 User @ $20 each                                  $       20.00      10        $         200.00
   Receiver's Email License (Annual)     $             59.88                                $          59.88
   Website Domain Fee (Annual)           $            333.03                                $         333.03
   Background Research License                                 $       26.82      10        $         268.20
   Total Computer Equipment and Software                                                    $       2,361.11

Entity Dissolution
    NASI - CA Dissolution fees/charges          $     391.00                                $         391.00
    OSR - CA Dissolution fees/charges           $     391.00                                $         391.00
    OSR 2 - CA Dissolution fees/charges         $     391.00                                $         391.00
    ORS 3 - CA Dissolution fees/charges         $     391.00                                $         391.00
        Total Entity Dissolution Fees/Charges                                               $       1,564.00

Photocopying:
    1,000 B&W Copies @ $0.15 each                              $      150.00      10        $       1,500.00
                       Total Photocopying                                                   $       1,500.00

Postage/ Overnight Expenses:
    Postage and FedEx - Distribution         $      1,373.63                                $       1,373.63
    Postage - Monthly                                          $       60.00      10        $         600.00
                        Total Postage/ FedEx                                                $       1,973.63

Storage and Destruction:
    Storage Fee - Monthly                                      $       28.64     10         $         286.40
    Document Destruction Fee                                   $        8.00     120        $         960.00
                Total Storage and Descruction                                               $       1,246.40

Taxes and Filing Fees
   California (2021)                            $     800.00                                $         800.00
   1099 Tax Filing                              $   2,500.00                                $       2,500.00
   1045 Tax Filing                              $     500.00                                $         500.00
                                 Total Taxes                                                $       3,800.00

                                                                                            $      26,902.14




                                                                                        Exhibit A, Page 34
                                                                                                               Updated 12/7/2020
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                                            Receiver Over NASI
                                           Net Funds to Distribute
                                               Attachment C

                                                                               Amount          Attachment
A. AVAILABLE FUNDS (All Sources):

     1   Bank Account Balance (as of 10/31/20):                            $     4,555,968
          a Standard Fund Accounting Report (07/01/20 to 10/31/20)                                  C-1
          b Bank Account Reconciliation                                                             C-3

     2   Clawback Recoveries Outstanding (Anticipated) (Increase Funds):   $       65,000           C-4

                                 Total Available Funds (All Sources):      $     4,620,968

B. RESERVE FUNDS:

     1   Professional Fees and Expenses (Outstanding and Estim.):
          a Through Q1 2020 (Holdback - 20% of Fee)                        $    (1,358,258)         B-1
          b Not Included in Previous Fee Apps (Actual)                     $      (132,443)         B-1
           c Estimated to Conclude                                         $      (195,000)         B-1
                      Total Prof. Fees and Expenses                        $    (1,685,700)

                                        Total Reserve Funds:               $    (1,685,700)


C. NET FUNDS TO DISTRIBUTE TO INVESTORS (Round 2 - Final)                  $     2,935,267




                                                                               Exhibit A, Page 35
                                                                                                Updated 12/7/2020
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                                     Receiver Over NASI
                                  Net Funds to Distribution
                                       Attachment C-1
                           SFAR for July 1, 2020 to October 31, 2020

Beginning Balance (07/01/20)                                                                $     4,524,049.40

Increases in Fund Balance:
      Interest/Dividend Income                                            $       165.80
      Third-Party Litigation Income                                       $     4,461.74
      Transfer from CNB Claims Administrator                              $   107,413.24
                                       Total Increases in Fund Balance    $   112,040.78

 Total Funds Available Before Disbursements                                                 $     4,636,090.18

Decreases in Fund Balance:
     Disbursements to Receiver or Other Professionals                     $   (74,164.36)
     Claims Administrative Fee (third party)                              $      (395.00)
     Federal and State Taxes                                              $    (5,563.19)
                        Total Disbursements for Receivership Operations   $   (80,122.55)

Ending Balance of Fund - Net Assets (10/31/20)                                              $     4,555,967.63




                                                                                                Exhibit A, Page 36
                                                                                                                 Updated 12/7/2020
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                             Receiver Over NASI
                                 Exhibit ___
                             Outstanding Checks
                               (As of 10/31/20)

Nationwide Automated Systems, Inc.:

 Check
  No. Check Date                   Payee Name                Amount
  3744 04/28/16    SUNRISE LODGE NA000390                $       25.50
  3755 05/25/16    BEST WESTERN - DOSWELL NA000087       $       10.50
  3851 05/25/16    RAMADA INN - BOSSIER CTY - NA000132   $       24.00
  3916 05/26/16    HOTEL INDIGO DALLAS - 878859          $      417.00
  3938 06/30/16    TR 3500 MAPLE CORP                    $       11.00
  3939 06/30/16    TR 3500 MAPLE CORP                    $       68.00
  3940 06/30/16    BEST WESTERN - DOSWELL NA000087       $        9.50
  3941 06/30/16    BEST WESTERN - DOSWELL NA000087       $       34.00
  3942 06/30/16    BEST WESTERN - DOSWELL NA000087       $       53.50
  3949 06/30/16    HILTON SAN FRANCISCO MAIN NA000301    $      930.50
  3971 06/30/16    UNCLE BUDS 377478                     $        0.50
  3972 06/30/16    UNCLE BUDS 377478                     $        7.00
  4014 06/30/16    HILTON - PHOENIX - 364231             $       66.00
  4041 06/30/16    BEST WESTERN - DOSWELL NA000087       $       31.00
  4111 06/30/16    HILTON SAN FRANCISCO MAIN NA000301    $      829.50
  4216 07/27/16    A LOFT CHARLESTON AIRPORT-NA000272    $       30.00
  4273 07/27/16    HILTON DAL/PLANO GRNTE PRK NA000407   $      278.80
  4289 07/27/16    HILTON SAN FRANCISCO MAIN NA000301    $      972.00
  4312 07/27/16    REGENCY PLAZA NA000365                $       32.50
  4453 08/31/16    HILTON DAL/PLANO GRNTE PRK NA000407   $      187.00
  4461 08/31/16    HILTON NORTHBROOK NA000048            $       38.50
  4468 08/31/16    HILTON SAN FRANCISCO MAIN NA000301    $    1,020.50
  4506 09/26/16    A LOFT CHARLESTON AIRPORT-NA000272    $       33.50
  4562 09/26/16    HILTON DAL/PLANO GRNTE PRK NA000407   $      204.00
  4577 09/26/16    HILTON SAN FRANCISCO MAIN NA000301    $      831.50
  4599 09/26/16    RIO GRANDE PLAZA HOTEL - NA000405     $       17.75
  4712 10/28/16    HILTON GRAND VACATIONS - 907229       $      106.00
  4741 10/28/16    A LOFT CHARLESTON AIRPORT-NA000272    $       12.00
  4796 10/28/16    HILTON DAL/PLANO GRNTE PRK NA000407   $      246.50
  5011 12/30/16    TR 3500 MAPLE CORP                    $       44.00
  5101 12/30/16    RIO GRANDE PLAZA HOTEL - NA000405     $        2.00
  5116 12/30/16    BURBANK AIRPORT MARRIOTT HOTEL        $    1,332.00
  5321 01/30/17    RIO GRANDE PLAZA HOTEL - NA000405     $        1.75
  5359 02/24/17    FAIRMONT BATTERY WHARF HOTEL-823326   $      155.00
  5390 02/24/17    TR 3500 MAPLE CORP                    $       39.00
  5487 03/30/17    TR 3500 MAPLE CORP                    $       53.00
  5782 04/27/17    SHERATON - HERNDON DULLES -727483     $      107.00
  5860 05/31/17    DOUBLETREE GUEST SUITES - NA000243    $      118.50
  5972 06/27/17    HILTON GARDEN INN - LAX EL SEGUNDO    $       46.50
  6048 06/27/17    HILTON - OHARE AIRPORT - NA000196     $      526.50
  6307 08/18/17    HILTON - BALTIMORE - NA000276         $    1,793.25
  6333 08/18/17    ONE CREEK GOLF CLUB NA000406          $       16.00
  6378 09/18/17    HILTON GARDEN INN - LAX EL SEGUNDO    $       49.00
  6466 09/18/17    THE RESORT AT PELICAN HILL NA000363   $       95.50

                                                                  Exhibit A, Page 37
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 Check
  No. Check Date                      Payee Name           Amount
  6473 09/18/17    THE RESORT AT PELICAN HILL NA000402   $    101.50
  6616 11/22/17    EL CONQUISTADOR RESORT-82541579       $ 1,180.00
  6657 11/22/17    TR 3500 MAPLE CORP                    $     45.00
  6659 11/22/17    A LOFT CHARLESTON AIRPORT-NA000272    $     33.50
  6734 12/19/17    TR 3500 MAPLE CORP                    $     36.00
  6775 12/19/17    HILTON - COSTA MESA - NA000400        $    187.00
  7015 02/15/18    HILTON WAIKOLOA OCEAN TOWER 907157    $     54.00
  7027 02/15/18    SUNNYMEAD SHELL CIRCLE K              $    137.00
  7065 02/28/18    HILTON - AKRON/FAIRLAWN NA000172      $     33.50
  7132 03/30/18    EMBASSY STE PITTSBURGH AIR NA000076   $     48.00
  7168 03/30/18    RAMADA WICHITA AIRPORT NA000078       $      5.50
  7218 03/30/18    SUNNYMEAD SHELL CIRCLE K              $    119.50
  7244 04/30/18    FAIRMONT BATTERY WHARF HOTEL-823326   $    180.00
  7601 07/13/18    THE ISLAND HOTEL 307431               $    135.00
  7703 08/22/18    ONTARIO GATEWAY HOTEL - 816469        $    112.00
  7713 08/24/18    A LOFT CHARLESTON AIRPORT-NA000272    $     23.00
  7755 08/24/18    HILTON - CHICAGO OHARE - NA000032     $     67.50
  7812 09/28/18    A LOFT CHARLESTON AIRPORT-NA000272    $     18.50
  7983 11/14/18    FAIRMONT BATTERY WHARF HOTEL-823326   $    186.25
  8089 12/17/18    HOTEL INDIGO DALLAS - 878859          $    156.00
  8160 01/18/19    COURTYARD - ERLANGER - 643801         $     19.50
  8179 01/18/19    HILTON GARDEN INN - LAX EL SEGUNDO    $     23.00
  8202 01/21/19    DOUBLETREE - CLAREMONT - NA000024     $     33.00
  8217 01/21/19    EMBASSY STES ST PAUL DTOWN NA000366   $     51.00
  8287 02/28/19    A LOFT CHARLESTON AIRPORT-NA000272    $     17.50
  8309 02/28/19    EMBASSY STES ST PAUL DTOWN NA000366   $      4.00
  8355 03/22/19    EMBASSY SUITES - SEATTLE - 365267     $     69.00
  8371 03/22/19    SUNNYMEAD SHELL CIRCLE K              $     88.50
  8432 04/18/19    DOUBLETREE - LAS VEGAS - 521476       $     38.50
  8571 05/31/19    HILTON - COSTA MESA - NA000400        $    266.00
                   Total Outstanding Checks (NASI):      $ 14,375.80




                                                                Exhibit A, Page 38
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                               Receiver Over NASI
                              Net Funds to Distribute
                                  Attachment C-4
                          Clawback Recoveries Outstanding


                                                     Amount
                                                 Outsanding (as of       Anticipated
Clawback Recoveries Outstanding                     09/30/20)             Recovery

1 Settlements - Outstanding Payment              $          25,211   $          5,000

2 Sale of Judgments Portfolio (11 Judgments)     $       2,398,389   $         60,000

                  Total Anticipated Recovery                         $         65,000




                                                                            Exhibit A, Page 39
                                                                                            Updated 12/7/2020
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                   EXHIBIT B
                                                            Exhibit B, Page 40
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                                 #:6887


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  7
  8                     UNITED STATES DISTRICT COURT
  9                   CENTRAL DISTRICT OF CALIFORNIA
 10                            WESTERN DIVISION
 11 SECURITIES AND EXCHANGE                  Case No. CV-14-07249-CJC-FFM
    COMMISSION,
 12                                          [PROPOSED] ORDER
             Plaintiff,                      DISCHARGING RECEIVER AND
 13                                          CLOSING RECEIVERSHIP
        v.
 14                                          Ctrm:      9B
    NATIONWIDE AUTOMATED                     Judge:     Hon. Cormac J. Carney
 15 SYSTEMS, INC.; JOEL GILLIS; and
    EDWARD WISHNER,
 16
             Defendants,
 17
    OASIS STUDIO RENTALS, LLC;
 18 OASIS STUDIO RENTALS #2, LLC; and
    OASIS STUDIO RENTALS #3, LLC,
 19
             Relief Defendants.
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                                                            Exhibit B, Page 41
      905178.01/SD
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  1             The Court having considered the Final Declaration of Aaron J. Kudla
  2 ("Receiver"), the Court-appointed permanent receiver for Defendant Nationwide
  3 Automated Systems, Inc. ("NASI"), Relief Defendants Oasis Studio Rentals, LLC,
  4 Oasis Studio Rentals #2, LLC, and Oasis Studio Rentals #3, LLC ("Relief
  5 Defendants"), and their subsidiaries and affiliates (collectively "Receivership
  6 Entities"), regarding the completion of receivership tasks and use of reserve funds
  7 ("Receiver's Final Declaration"), and good cause appearing therefor, IT IS HEREBY
  8 ORDERED as follows:
  9             1.    The Receiver's Final Declaration is approved;
 10             2.    The Receiver is authorized to transfer all cash remaining in the
 11 receivership estate to the United States Treasury.
 12             3.    The Receiver is discharged of all duties under the Temporary
 13 Restraining Order and Orders (1) Freezing Assets; (2) Prohibiting the Destruction of
 14 Documents; (3) Granting Expedited Discovery; (4) Requiring Accountings; and (5)
 15 Appointing a Temporary Receiver, and Order to Show Cause re Preliminary
 16 Injunction and Appointment of a Permanent Receiver entered by this Court on
 17 September 30, 2014 ("TRO") (Dkt. No. 17), the Preliminary Injunction and Orders
 18 (1) Freezing Assets; (2) Prohibiting the Destruction of Documents; (3) Requiring
 19 Accountings; and (4) Appointing a Receiver entered by this Court on October 29,
 20 2014 ("Preliminary Injunction Order") (Dkt. No. 42), and subsequent orders of the
 21 Court. Pursuant to the discharge, the Receiver is released from any and all claims
 22 and liabilities associated with the receivership, the receivership entities, and the
 23 individual defendants named in this action.
 24             4.    All actions taken by the Receiver and his professionals in performing
 25 the Receiver's Court-ordered duties under the TRO, Preliminary Injunction Order,
 26 and subsequent orders of the Court are approved and ratified.
 27             5.    The Receiver is discharged from any further responsibility for payment
 28 of liabilities of the Receivership Entities.

                                                                       Exhibit B, Page 42
      905178.01/SD                                -2-
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  1             6.   The receivership is closed.
  2             7.   Jurisdiction over all disputes, claims, and causes of action arising from
  3 or relating to this receivership case is reserved in this Court.
  4
  5 Dated:
                                                   Hon. Cormac J. Carney
  6                                                Judge, United States District Court
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                                                                       Exhibit B, Page 43
      905178.01/SD                                 -3-
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                   EXHIBIT C
                                                            Exhibit C, Page 44
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                                     Receiver Over NASI
                                  Net Funds to Distribution
                                         Exhibit ___
                           SFAR for July 1, 2020 to October 31, 2020

Beginning Balance (07/01/20)                                                                $     4,524,049.40

Increases in Fund Balance:
      Interest/Dividend Income                                            $       165.80
      Third-Party Litigation Income                                       $     4,461.74
      Transfer from CNB Claims Administrator                              $   107,413.24
                                       Total Increases in Fund Balance    $   112,040.78

 Total Funds Available Before Disbursements                                                 $     4,636,090.18

Decreases in Fund Balance:
     Disbursements to Receiver or Other Professionals                     $   (74,164.36)
     Claims Administrative Fee (third party)                              $      (395.00)
     Federal and State Taxes                                              $    (5,563.19)
                        Total Disbursements for Receivership Operations   $   (80,122.55)

Ending Balance of Fund - Net Assets (10/31/20)                                              $     4,555,967.63




                                                                                                Exhibit C, Page 45
                                                                                                                 Updated 12/7/2020
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                   EXHIBIT D
                                                            Exhibit D, Page 46
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                             Receiver Over NASI
                                 Exhibit ___
                             Outstanding Checks
                               (As of 10/31/20)

Nationwide Automated Systems, Inc.:

 Check
  No. Check Date                   Payee Name                Amount
  3744 04/28/16    SUNRISE LODGE NA000390                $       25.50
  3755 05/25/16    BEST WESTERN - DOSWELL NA000087       $       10.50
  3851 05/25/16    RAMADA INN - BOSSIER CTY - NA000132   $       24.00
  3916 05/26/16    HOTEL INDIGO DALLAS - 878859          $      417.00
  3938 06/30/16    TR 3500 MAPLE CORP                    $       11.00
  3939 06/30/16    TR 3500 MAPLE CORP                    $       68.00
  3940 06/30/16    BEST WESTERN - DOSWELL NA000087       $        9.50
  3941 06/30/16    BEST WESTERN - DOSWELL NA000087       $       34.00
  3942 06/30/16    BEST WESTERN - DOSWELL NA000087       $       53.50
  3949 06/30/16    HILTON SAN FRANCISCO MAIN NA000301    $      930.50
  3971 06/30/16    UNCLE BUDS 377478                     $        0.50
  3972 06/30/16    UNCLE BUDS 377478                     $        7.00
  4014 06/30/16    HILTON - PHOENIX - 364231             $       66.00
  4041 06/30/16    BEST WESTERN - DOSWELL NA000087       $       31.00
  4111 06/30/16    HILTON SAN FRANCISCO MAIN NA000301    $      829.50
  4216 07/27/16    A LOFT CHARLESTON AIRPORT-NA000272    $       30.00
  4273 07/27/16    HILTON DAL/PLANO GRNTE PRK NA000407   $      278.80
  4289 07/27/16    HILTON SAN FRANCISCO MAIN NA000301    $      972.00
  4312 07/27/16    REGENCY PLAZA NA000365                $       32.50
  4453 08/31/16    HILTON DAL/PLANO GRNTE PRK NA000407   $      187.00
  4461 08/31/16    HILTON NORTHBROOK NA000048            $       38.50
  4468 08/31/16    HILTON SAN FRANCISCO MAIN NA000301    $    1,020.50
  4506 09/26/16    A LOFT CHARLESTON AIRPORT-NA000272    $       33.50
  4562 09/26/16    HILTON DAL/PLANO GRNTE PRK NA000407   $      204.00
  4577 09/26/16    HILTON SAN FRANCISCO MAIN NA000301    $      831.50
  4599 09/26/16    RIO GRANDE PLAZA HOTEL - NA000405     $       17.75
  4712 10/28/16    HILTON GRAND VACATIONS - 907229       $      106.00
  4741 10/28/16    A LOFT CHARLESTON AIRPORT-NA000272    $       12.00
  4796 10/28/16    HILTON DAL/PLANO GRNTE PRK NA000407   $      246.50
  5011 12/30/16    TR 3500 MAPLE CORP                    $       44.00
  5101 12/30/16    RIO GRANDE PLAZA HOTEL - NA000405     $        2.00
  5116 12/30/16    BURBANK AIRPORT MARRIOTT HOTEL        $    1,332.00
  5321 01/30/17    RIO GRANDE PLAZA HOTEL - NA000405     $        1.75
  5359 02/24/17    FAIRMONT BATTERY WHARF HOTEL-823326   $      155.00
  5390 02/24/17    TR 3500 MAPLE CORP                    $       39.00
  5487 03/30/17    TR 3500 MAPLE CORP                    $       53.00
  5782 04/27/17    SHERATON - HERNDON DULLES -727483     $      107.00
  5860 05/31/17    DOUBLETREE GUEST SUITES - NA000243    $      118.50
  5972 06/27/17    HILTON GARDEN INN - LAX EL SEGUNDO    $       46.50
  6048 06/27/17    HILTON - OHARE AIRPORT - NA000196     $      526.50
  6307 08/18/17    HILTON - BALTIMORE - NA000276         $    1,793.25
  6333 08/18/17    ONE CREEK GOLF CLUB NA000406          $       16.00
  6378 09/18/17    HILTON GARDEN INN - LAX EL SEGUNDO    $       49.00
  6466 09/18/17    THE RESORT AT PELICAN HILL NA000363   $       95.50

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                                 #:6894

 Check
  No. Check Date                      Payee Name           Amount
  6473 09/18/17    THE RESORT AT PELICAN HILL NA000402   $    101.50
  6616 11/22/17    EL CONQUISTADOR RESORT-82541579       $ 1,180.00
  6657 11/22/17    TR 3500 MAPLE CORP                    $     45.00
  6659 11/22/17    A LOFT CHARLESTON AIRPORT-NA000272    $     33.50
  6734 12/19/17    TR 3500 MAPLE CORP                    $     36.00
  6775 12/19/17    HILTON - COSTA MESA - NA000400        $    187.00
  7015 02/15/18    HILTON WAIKOLOA OCEAN TOWER 907157    $     54.00
  7027 02/15/18    SUNNYMEAD SHELL CIRCLE K              $    137.00
  7065 02/28/18    HILTON - AKRON/FAIRLAWN NA000172      $     33.50
  7132 03/30/18    EMBASSY STE PITTSBURGH AIR NA000076   $     48.00
  7168 03/30/18    RAMADA WICHITA AIRPORT NA000078       $      5.50
  7218 03/30/18    SUNNYMEAD SHELL CIRCLE K              $    119.50
  7244 04/30/18    FAIRMONT BATTERY WHARF HOTEL-823326   $    180.00
  7601 07/13/18    THE ISLAND HOTEL 307431               $    135.00
  7703 08/22/18    ONTARIO GATEWAY HOTEL - 816469        $    112.00
  7713 08/24/18    A LOFT CHARLESTON AIRPORT-NA000272    $     23.00
  7755 08/24/18    HILTON - CHICAGO OHARE - NA000032     $     67.50
  7812 09/28/18    A LOFT CHARLESTON AIRPORT-NA000272    $     18.50
  7983 11/14/18    FAIRMONT BATTERY WHARF HOTEL-823326   $    186.25
  8089 12/17/18    HOTEL INDIGO DALLAS - 878859          $    156.00
  8160 01/18/19    COURTYARD - ERLANGER - 643801         $     19.50
  8179 01/18/19    HILTON GARDEN INN - LAX EL SEGUNDO    $     23.00
  8202 01/21/19    DOUBLETREE - CLAREMONT - NA000024     $     33.00
  8217 01/21/19    EMBASSY STES ST PAUL DTOWN NA000366   $     51.00
  8287 02/28/19    A LOFT CHARLESTON AIRPORT-NA000272    $     17.50
  8309 02/28/19    EMBASSY STES ST PAUL DTOWN NA000366   $      4.00
  8355 03/22/19    EMBASSY SUITES - SEATTLE - 365267     $     69.00
  8371 03/22/19    SUNNYMEAD SHELL CIRCLE K              $     88.50
  8432 04/18/19    DOUBLETREE - LAS VEGAS - 521476       $     38.50
  8571 05/31/19    HILTON - COSTA MESA - NA000400        $    266.00
                   Total Outstanding Checks (NASI):      $ 14,375.80




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